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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                               BRIDGEPORT DIVISION

In re:                                             Chapter 11

HO WAN KWOK,                                       Case No: 22-50073 (JAM)

                      Debtor.



    EX PARTE MOTION TO SHORTEN AND LIMIT NOTICE AND SCHEDULE AN
    EXPEDITED HEARING ON MEI GUO’S MOTION FOR PROTECTIVE ORDER

         Party in interest Mei Guo (“Ms. Guo”), hereby moves this Court, ex parte, for the entry

of an order shortening notice and scheduling a hearing to consider Ms. Guo’s Motion for

Protective Order (Doc. No. 342) (the “Motion”) during the afternoon of May 12, 2022, or at the

Court’s earliest convenience. In support of this Motion, Ms. Guo respectfully represents as

follows:

                    JURISDICTION, VENUE, AND BASIS FOR RELIEF

         1.     The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. Venue of the Debtor’s Chapter 11 case and this Motion are proper in this District pursuant

to 28 U.S.C. §§ 1408 and 1409.

         2.     The Motion relates to the Motion to Dismiss (as defined below), which is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2)(A).

         3.     The predicates for the relief requested herein are Section 105 of the United States

Bankruptcy Code (11 U.S.C. §§ 101 et seq.), and Fed. R. Bankr. P. 9007 and 9006(c)(1).

                                BACKGROUND INFORMATION

         4.     The Debtor commenced this case on February 15, 2022.

         5.     On April 6, 2022, the Debtor’s largest creditor, Pacific Alliance Asia Opportunity

Fund, L.P. (“PAX”), filed a motion to dismiss the Debtor’s case (the “Motion to Dismiss”), ECF
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183.

       6.        On April 28, 2022, a Scheduling Order entered setting an evidentiary hearing on

the Motion to Dismiss for May 25 and 26, 2022, and requiring the parties to submit witness and

exhibit lists by May 20, 2022. (See ECF 274).

       7.        In connection with the Motion to Dismiss PAX has noticed the deposition of

Hong Kong International Funds Investments (USA) LLC (“HKI Delaware”) pursuant to Fed. R.

Civ. P. 30(b)(6), which is applicable to this proceeding pursuant to Fed. R. Bankr. 9014, and

subpoenaed the deposition of Ms. Guo pursuant to Fed. R. Civ. P. 45, which is applicable to this

proceeding under Fed. R. Bankr. 9016. Ms. Guo will testify as the corporate designee of HKI

Delaware. Both depositions have been scheduled for May 16, 2022 (hereinafter the

“Deposition”).

       8.        On May 10, 2022, Ms. Guo filed the Motion, seeking an Order granting certain

procedural safeguards related to Ms. Guo’s appearance at the Deposition in order to protect her

personal safety and security for the reasons detailed in the Motion. Simply stated, for years Ms.

Gou has been the target of physical threats and intimidation by persons who clearly are closely

monitoring litigation in which the Debtor is or has been involved and his Chapter 11 Case.

                                     RELIEF REQUESTED

       9.        By this motion, Ms. Guo seeks an order shortening notice of and scheduling an

expedited hearing to consider the Motion.

       10.       Fed. R. Bankr. P. 9006(c)(1) provides that, except to the extent specifically

precluded by subsection(c)(2), “when an act is required or allowed to be done at or within a

specified time . . . by order of the court, the court for cause shown may in its discretion with or

without motion or notice order the period reduced.”




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       11.     Furthermore, pursuant to Fed. R. Bankr. P. 9007, the Court has general authority to

prescribe and regulate notice.

       12.     Cause exists to shorten and limit the notice required and reduce the time in which a

hearing is to be held with respect to the Motion.

       13.     An evidentiary hearing on the Motion to Dismiss is scheduled to begin on May

25, 2022, and the parties to that motion are preparing for the hearing on an expedited basis.

       14.     Ms. Guo does not seek to upend the Scheduling Order deadlines or cause the

hearing on the Motion to Dismiss to be continued. Ms. Guo thus seeks expedited consideration

of the Motion so that it may be heard and decided by the Court and the Deposition may be

conducted as scheduled on May 16, 2022, with appropriate safeguards as ordered by the Court.

       15.     No party in interest will be prejudiced by shortening notice with regard to a

hearing on the Motion. Indeed, shortening notice and conducting an expedited hearing will

permit the Deposition and the Motion to Dismiss hearing to proceed as scheduled.

       16.     Pursuant to Fed. R. Bankr. P. 9007, Ms. Guo proposes that notice of the Motion

be limited to the following parties (“Notice Parties”):

               a. The Debtor;

               b. The Office of the United States Trustee; and

               c. Counsel and appearing parties of record (including counsel for PAX and

                   counsel for the Official Committee of Unsecured Creditors).

       17.       Ms. Guo further proposes that notice be sent to all Notice Parties via electronic

mail, through the Court’s ECF system to appearing counsel and parties or directly to email

addresses of record, or where electronic mail is not feasible via facsimile transmission.




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       18.     Ms. Guo requests that a hearing be scheduled to consider the Motion for

Thursday, May 12, 2022, at 2:00 pm, or at the Court’s earliest convenience.

       WHEREFORE, Ms. Guo respectfully requests that the Court enter the order submitted

herewith scheduling a hearing on the Motion, and grant such other and further relief as this Court

deems just and proper.

       Dated at Bridgeport, Connecticut this 10th day of May, 2022.


                                                     MEI GUO


                                                     By: /s/ Aaron A. Romney, Esq.
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                                CERTIFICATE OF SERVICE

         I, Aaron A. Romney, hereby certify that on the 10th day of May, 2022, the Ex Parte

Motion to Shorten Notice and Schedule a Hearing to Consider party in interest Mei Guo’s

Motion for Protective Order was sent by e-mail to all appearing parties by operation of the Court’s

electronic filing system.


                                         MEI GUO

                                      By:/s/ Aaron A. Romney
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